     Case 4:19-cv-00162-MW-MAF Document 159 Filed 09/16/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              TALLAHASSEE DIVISION

ELIZABETH FREDERICK,

         Plaintiff,

v.                                               Case No.: 4:19cv162-MW/MAF

WALTER MCNEIL, as Sheriff of Leon
County, Florida, et al.,

     Defendants.
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                      ORDER SETTING EXTENDED DEADLINE

         Plaintiff moves to join Corizon Health, Inc., as a party-defendant. ECF No.

155. Defendant’s response, if any, and Corizon Health’s response, if any, and the

insurers’ response, if any, are due on or before October 7, 2022—this is an extended

deadline to allow Plaintiff time to serve this Order on Corizon Health and to forward

copies to the insurers. Plaintiff must serve this Order on Corizon on or before

September 23, 2022, and provide copies of the same to the insurers by that date,

using the same mode of service previously used. On or before September 23, 2022,

Plaintiff shall file a notice with this Court confirming service in compliance with this

Order.

         SO ORDERED on September 16, 2022.

                                               s/Mark E. Walker             ____
                                               Chief United States District Judge
